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			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
	 	


	
		

					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							April 1, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Nordic Construction, Ltd. v. Maui Beach Resort Limited Partnership (Order Granting November 7, 2018 Motion to Dismiss Appeal for Lack of Appellate Jurisdiction and Dismissing All Pending Motions as Moot).

							Circuit Court, 2nd Circuit
							
						
												
							March 29, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Martin (Amended s.d.o., affirmed). ICA s.d.o., filed 03/29/2019.

							Circuit Court, 3rd Circuit
							
						
												
							March 29, 2019
							S.Ct
							SCAP-XX-XXXXXXX [ADA]
							Sheveland v. Wells Fargo Bank, N.A. (Order Approving Stipulation for Dismissal).&nbsp; S.Ct. Opinion, filed 03/18/2019 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							March 29, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Sandomire v. Brown.&nbsp;

							Circuit Court, 1st Circuit
							
						
												
							March 29, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							U.S. Bank, National Association v. Daga (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							March 29, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Martin (s.d.o., affirmed). ICA Amended s.d.o., filed 03/29/2019 [ada].

							Circuit Court, 3rd Circuit
							
						
												
							March 29, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							LaPeter v. LaPeter. Consolidated with Case No. CAAP-XX-XXXXXXX.

							Family Court, 2nd Circuit
							
						
												
							March 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Hawaii Central Federal Credit Union v. Larson (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							March 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Shigetani (s.d.o., affirmed).

							Circuit Court, 1st Circuit (Criminal)
							
						
												
							March 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Leong v. Honolulu Ford, Inc. (mem. op., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							March 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Winham v. Administrative Director of the Courts (s.d.o., affirmed).&nbsp;

							District Court, 1st Circuit, Honolulu Division
							
						
												
							March 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Cambridge Management Inc. v. Jadan (s.d.o., affirmed).

							District Court, 1st Circuit
							
						
												
							March 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							First Hawaiian Bank v. Association of Apartment Owners of Palm Villas II (s.d.o., affirmed).

							Circuit Court, 1st Circuit (Foreclosure)
							
						
												
							March 27, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Means (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 11/08/2018 [ada].&nbsp; Application for Writ of Certiorari, filed 02/11/2019.

							Circuit Court, 2nd Circuit
							
						
												
							March 27, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Castro v. State (Order of Correction). ICA s.d.o., filed 03/20/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							March 25, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Brown (s.d.o., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							March 22, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Abella. Application for Writ of Certiorari, filed 04/01/2019.

							Circuit Court, 1st Circuit
							
						
												
							March 21, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Brain ( Order Rejecting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 12/06/2018 [ada], 143 Haw. 332 .&nbsp;Application for&nbsp;Writ of Certiorari, filed 02/08/2019.

							District Court, 3rd Circuit, North and South Hilo Division
							
						
												
							March 21, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Kōkua Council for Senior Citizens v. Director of the Department of Health (Order Rejecting Application for Writ of Certiorari). ICA mem. op., filed 12/24/2018 [ada], 143 Haw. 524.&nbsp; Application for Writ of Certiorari, filed 02/04/2019.

							Circuit Court, 1st Circuit
							
						
												
							March 21, 2019
							S.Ct
							SCAP-XX-XXXXXXX [ADA]
							Tax Foundation of Hawaiʻi v. State. Dissenting Opinion by Recktenwald, C.J. [ada]. Dissenting Opinion by Nakayama, J. [ada].

							Circuit Court, 1st Circuit
							
						
												
							March 21, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re the Application of Trustees Under the Will of the Estate of James Campbell, Deceased (s.d.o., vacated and remanded).

							Land and Tax Appeal Court
							
						
												
							March 20, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							LoPresti v. Nago (Order Denying Petition for Extraordinary Writ Seeking Post-Election Relief).&nbsp; Petition for Extraordinary Writ Seeking Post-Election Relief, filed 03/07/2019.

							Original Proceeding
							
						
												
							March 20, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							L &amp; E Ranch LLC v. Loo (Order Denying Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 02/16/2019.

							Original Proceeding
							
						
												
							March 20, 2019
							S.Ct
							SCAD-XX-XXXXXXX [ADA]
							Disciplinary Board of the Hawai‘i Supreme Court v. Miyao (Order to Transfer to Inactive Status).

							Original Proceeding
							
						
												
							March 20, 2019
							
							CAAP-XX-XXXXXXX [ADA]
							Auyoung v. Department of Budget and Fiscal Services (mem.op., reversed).

							Circuit Court, 1st Circuit
							
						
												
							March 20, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Yamaguchi v. National Tropical Botanical Gardens (Order Granting Motion to Dismiss Appeal).

							Labor and Industrial Relations Appeals Board
							
						
												
							March 20, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Cox (mem. op., reversed).

							Circuit Court, 3rd Circuit
							
						
												
							March 20, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Castro v. State (s.d.o., affirmed). ICA&nbsp;Order of Correction, filed 03/27/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							March 20, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re AG (s.d.o., affirmed).

							Family Court, 1st Circuit
							
						
												
							March 19, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Moose v. McManaman (Order Denying Petition for Writ of Mandamus and/or Writ of Prohibition). Petition for Writ of Mandamus and/or Writ of Prohibition, filed 03/05/2019.

							Original Proceeding
							
						
												
							March 19, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Uyeda v. Schermer.&nbsp;ICA s.d.o., filed 09/29/2017 [ada], 141 Haw. 127.&nbsp;Dissenting Opinion by Nakamura, C.J.&nbsp;[ada]. Petitioners-Appellees Motion for Reconsideration, filed on 10/06/2017. Respondent-Appellant Motion for Reconsideration, filed 10/09/2017.&nbsp;&nbsp;ICA Order Denying Motion for Reconsideration, filed 10/12/2017 [ada].&nbsp;ICA Order Denying Motion for Reconsideration and Dissenting Opinion by Nakamura, C.J., filed 10/18/2017 [ada].&nbsp;Petitioner-Appellee’s Application for Writ of&nbsp;Certiorari, filed 04/12/2018.&nbsp; Respondent-Appellant’s Application for Writ of&nbsp;Certiorari, filed 04/15/2018.&nbsp;&nbsp;S.Ct. Order&nbsp;Accepting&nbsp;Application for Writ of&nbsp;Certiorari, filed 05/23/2018 [ada].&nbsp;&nbsp;S.Ct.&nbsp;Order Rejecting Application for Writ of&nbsp;Certiorari, filed&nbsp;05/23/2018 [ada].

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							March 19, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Deutsche Bank Trust Company Americas v. Aquino (Order Granting Motion to Dismiss Appeal).

							Circuit Court, 2nd Circuit
							
						
												
							March 19, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Naumenkov (Order Granting Motion to Dismiss Appeal).

							District Court, 5th Circuit
							
						
												
							March 19, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							BS v. NS (Order Granting Motion to Dismiss Appeal).

							Family Court, 2nd Circuit
							
						
												
							March 19, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Bayview Loan Servicing, LLC v. Woods (s.d.o., vacated and remanded).

							Circuit Court, 5th Circuit (Foreclosure)
							
						
												
							March 19, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Kato (mem. op., affirmed).

							Circuit Court, 1st Circuit (Criminal)
							
						
												
							March 19, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Kona’s Best Natural Coffee LLC v. Mountain Thunder Coffee Plantation, Int’l, Inc. (s.d.o., vacated, remanded, and affirmed). ICA mem. op., filed 08/03/2017 [ada],&nbsp;140 Haw. 250.&nbsp;Concurring Opinion by Ginoza, J.&nbsp;[ada].

							Circuit Court, 3rd Circuit (Civil)
							
						
												
							March 18, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Bayron (s.d.o., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							March 18, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Bevill v. Maurizio (Order Granting February 25, 2019 Motion to Dismiss Appeal for Lack of Appellate Jurisdiction).&nbsp;

							Circuit Court, 2nd Circuit
							
						
												
							March 18, 2019
							S.Ct
							SCAP-XX-XXXXXXX [ADA]
							Sheveland v. Wells Fargo Bank, N.A. S.Ct. Order Approving Stipulation for Dismissal, filed 03/29/2019 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							March 18, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Westerman (mem. op., affirmed).

							Circuit Court, 5th Circuit
							
						
												
							March 18, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Pitolo.&nbsp;ICA Opinion, filed 10/30/2017 [ada],&nbsp;141 Haw. 131.&nbsp;ICA Order of Correction, filed 11/07/2017 [ada]. Application for Writ of&nbsp;Certiorari, filed 01/29/2018.&nbsp;S.Ct. Order Accepting&nbsp;Application for Writ of&nbsp;Certiorari, filed 03/22/2018 [ada].

							Circuit Court, 1st Circuit
							
						
												
							March 15, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Goo (s.d.o., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							March 15, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Ally Bank v. Hochroth (Order Rejecting Application for Writ of&nbsp;Certiorari). ICA&nbsp;Order Dismissing Appeal for Lack of Appellate Jurisdiction, filed 01/04/2019 [ada].&nbsp; Application for Writ of&nbsp;Certiorari, filed 02/01/2019.

							Circuit Court, 1st Circuit
							
						
												
							March 15, 2019
							
							CAAP-XX-XXXXXXX [ADA]
							DL v. CL (Order Denying Motion for Reconsideration). ICA s.d.o., filed 02/28/2019 [ada]. Motion for Reconsideration, filed 03/11/2019.

							Family Court, 1st Circuit
							
						
												
							March 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Acupan v. Nedeljkovic (Order Denying the March 11, 2019 Motion to Reconsider the March 11, 2019 Order Dismissing Appeal for Lack of Appellate Jurisdiction).&nbsp; ICA Order Dismissing Appeal for Lack of Appellate Jurisdiction, filed 03/11/2019 [ada]. Motion for Reconsideration, filed 03/11/2019.

							Circuit Court, 5th Circuit
							
						
												
							March 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Eager (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							March 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Chen v. Mah (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							March 13, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Dobbs v. County of Maui (Order of Correction). ICA s.d.o., filed 02/20/2019 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							March 13, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Spar Marketing Services, Inc. v. State (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
											
				
			
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